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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.


 State of Colorado, et al.,

                                Plaintiffs,          Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.


                                     JOINT STATUS REPORT

       Pursuant to the Court’s Order, ECF No. 1186, the Parties submit the following Joint

Status Report.

I.     Joint Status Update

       The parties submit proposals on the four topics outlined in the Court’s Order: (1) the

number of exhibits permitted at the Evidentiary Hearing, including any exceptions to that

limitation; (2) the process governing the use of confidential information at the Evidentiary

Hearing; (3) the structure and format of post-trial submissions, including any responsive filings;

and (4) the deadline to file amicus affidavit(s).

       The parties have negotiated regarding these topics in an effort to resolve disputes. The

parties jointly submit a statement with agreed proposals with respect to the process governing the
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use of confidential information at the Evidentiary Hearing and the deadline to file amicus

affidavit(s). The parties have reached impasse on the other two topics. The parties describe their

proposals below and provide brief position statements addressing their separate proposals. Given

the March 28, 2025 deadline for exchanging exhibit lists, the parties respectfully request that the

Court issue its ruling regarding the exhibit list limits as soon as possible.

        A.       The Parties’ Joint Proposals

                 1.     The Use of Confidential Information at the Evidentiary Hearing1

                        a)      Redactions Prior to the Evidentiary Hearing

       On March 28, 2025:

             o    Plaintiffs shall identify for Google 20 exemplar documents that Plaintiffs believe

                 may raise confidentiality issues for the Google employees on both parties’ trial

                 witness lists. Plaintiffs will not identify only portions of documents at this stage

                 but agree to provide only example documents of reasonable length.

       On March 31, 2025:

             o Each party shall notify all applicable non-parties of the documents produced by

                 that non-party appearing on the party’s exhibit list. For non-parties listed on

                 either party’s trial witness list, each party shall also identify portions of two

                 exhibits where it seeks the non-party’s views on confidentiality.

       On April 3, 2025:

             o Google shall provide redactions to the 20 documents specified by Plaintiffs on

                 March 26, 2025. In addition, Google will provide redactions for five other


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  Consistent with the parties’ exchange with the Court at the March 24, 2025 hearing, the parties
will file on March 28, 2025 further proposals relating to public access to the Evidentiary Hearing
in connection with responding to the motion filed on March 21, 2025 by The New York Times
Company (ECF 1192).
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             documents that address different subject matters from those covered by Plaintiffs’

             20 exemplars.

         o The non-parties on either party’s trial witness list shall provide: (1) redactions to

             the portions of the two exhibits identified by the parties on March 31, 2025; (2)

             redactions to two other exhibits that address different subject matters from those

             covered by the parties’ exemplars so that the parties can assess and raise any

             disagreement with the non-parties’ positions; and (3) redactions, by page and line

             numbers, for non-party witnesses’ deposition testimony for witnesses included on

             the parties’ trial witness lists.

     On April 7, 2025:

         o Google shall provide redactions, by page and line numbers, for the deposition

             testimony of the four Google employees on Plaintiffs’ trial witness list (Peter

             Fitzgerald, Sissie Hsiao, Sameer Samat, and Pariza Tabriz).

    On April 9, 2025 by 3pm ET the parties and applicable non-parties shall submit disputes

     regarding confidentiality that they seek to address at the April 10, 2025 conference. See

     ECF 1173 at 2.

    On April 16, 2025:

         o   Plaintiffs shall provide to Google portions of the exhibits they intend to use

             during the evidentiary hearing on April 21 and April 22, 2025. Google shall

             identify within 48 hours—by April 18, 2025—the information in the portion of

             the exhibits that it contends should be sealed. The parties agree to work in good

             faith to reach agreement on any necessary redactions to these exhibits by April 19,

             2025 or prepare to raise the issue with the Court. Under this procedure, to the


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               extent Plaintiffs choose to show counsel for Google an exhibit for the purpose of

               confirming whether examination regarding the document may be conducted in

               open court, counsel for Google shall not inform the witness that they might be

               questioned on that document or otherwise use that disclosure to prepare the

               witness for testimony based on that disclosure.

                       b)      Confidentiality Designations During the Evidentiary Hearing

       If a party or non-party receives notice of a party’s intention to publicly disclose

information previously identified as confidential information during the evidentiary hearing, the

party or non-party claiming that the information is confidential must, within 48 hours, either

reach agreement with the party seeking to disclose the information or raise the issue with the

Court. To facilitate the review of material within 48 hours of notice being provided, the parties

agree to provide portions of exhibits they intend to use with a live witness for confidentiality

review. The parties reserve the right to use any portions of exhibits that have not been through

the confidentiality process in Court, although the parties will not publicly disclose any such

material that has previously been designated as confidential or highly confidential.

       To the extent a party chooses to show counsel for a party or non-party an exhibit for the

purpose of confirming whether examination regarding the document may be conducted in open

court, counsel for the party shown the exhibit shall not inform the witness that they might be

questioned on that document or otherwise use that disclosure to prepare the witness for testimony

based on that disclosure.

                       c)      Presentations and Examinations.

       Where the parties agree it is reasonable or the Court instructs the parties to do so, the

parties shall use the Rosetta Stone approach (i.e., providing the Court a key that assigns a generic

label to the confidential information) for presenting sealed information in open court such that

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the key enables the party to conduct the questioning without revealing the confidential

information. The parties shall also use redacted versions of exhibits, where confidential

information is redacted in exhibits shown to the public and used in the open courtroom during an

examination. The parties shall provide copies of the redacted exhibits with red boxes to the

Court, witness, and counsel to facilitate efficient trial presentation.

               2.      Timing of Amicus Affidavits

       Although the Parties believe that amicus affidavits should not be relied on because,

among other things, they are inadmissible hearsay, to the extent they are allowed, the Court

should set a deadline of April 18, 2025, for their submission.

               3.      The Number of Exhibits

       Plaintiffs’ position is that each side may introduce no more than 400 exhibits in

connection with the remedies evidentiary hearing and that any exhibits not subject to a specific

objection may be admitted into evidence in bulk on the first day of trial or any day thereafter,

and Google’s position is that each side may introduce no more than 200 exhibits. The parties

agree that the limit shall not apply to exhibits already admitted into evidence (i.e., during the trial

on liability), exhibits used during any deposition, executed or draft contracts, data files, written

discovery responses, and exhibits where Heather Adkins is a custodian.

               4.      Post-Trial Briefing

       Plaintiffs’ position is that on May 16, 2025 each side shall file Proposed Findings of Fact

of no more than 200 pages and a combined brief and Proposed Conclusions of Law of no more

than 50 pages, and that on May 23, 2025 each side may file Responsive Proposed Findings of

Fact of no more than 50 pages and a combined brief and Proposed Conclusions of Law of no

more than 25 pages. Google agrees with the proposed dates, but its position is that the page

limits should be 300 pages for the Proposed Findings of Fact, 75 pages for the Proposed

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Conclusions of Law, 100 pages for the Responsive Proposed Findings of Fact, and 25 pages for

the Responsive Proposed Conclusions of Law. The parties agree that the Proposed Findings of

Fact (and Responsive Proposed Findings of Fact) shall consist of numbered paragraphs of

discrete facts, and that the parties may draft some or all of their Proposed Conclusions of Law

(and Responsive Proposed Conclusions of Law) in a narrative fashion rather than using

numbered paragraphs if they wish to do so.

II.     Plaintiffs’ Position Regarding the Number of Exhibits

        Plaintiffs believe that while a limit on exhibits is unnecessary, if the Court were to

impose one it should provide an upper limit that provides the parties flexibility and recognizes

that some documents may be “pushed in”—as the Court previously allowed during the liability

phase—while recognizing the Court’s admonishment that it will ultimately focus the most on

what is used during the hearing with a witness.

III.    Google’s Position Statement Regarding the Number of Exhibits

        Google’s position is that each side should be permitted to admit no more than 200

exhibits during the evidentiary hearing, not counting (i) exhibits admitted during the liability

trial, (ii) exhibits introduced during a deposition that are introduced into evidence, (iii) contracts,

(iv) data files, (v) written discovery responses, and (vi) documents for which Google employee

Heather Adkins is a custodian. Plaintiffs argued at the last hearing that this issue was not ripe

because the parties had not yet exchanged final fact witness lists, Mar. 10, 2025 Hr’g Tr. 30:9-

31:18, but the parties have now served those lists and disclosed their experts. Documents

produced from the files of the only new fact witness (Ms. Adkins) on the parties’ lists have been

excluded from the cap, such that there is no need for further delay in implementing the

reasonable limit Google has proposed. Given the 14 days allotted for the evidentiary hearing and

the pace at which exhibits were used at trial, Google’s proposed limit of 200 per side exceeds the

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number that the parties could realistically use during the hearing, particularly in view of the six

categories of documents excepted from the cap. The Court observed at the last status conference

that the exhibits the parties want the Court “to really focus on ought to be presented here in trial

and live,” and “as a practical and general matter, we ought to avoid having substantial evidence

… pushed in and not presented to [the Court].” Mar. 10, 2025 Hr’g Tr. 29:11-30:1. That is

important because “witnesses [are] able to contextualize and explain the technical and lengthy

documents at issue, which might otherwise be misunderstood or selectively cited in post-trial

briefs.” United States v. AT&T Inc., 310 F. Supp. 3d 161, 186-87 (D.D.C. 2018). The limit on

exhibits Google has proposed furthers these objectives, while still allowing each side ample

opportunity to ground its positions in a significant number of exhibits.

IV.    Plaintiffs’ Position Regarding the Length of Post-Trial Submissions

       Ultimately Plaintiffs want to submit these filings in whatever format would most aid the

court; but in the absence of any preference, Plaintiffs’ proposal is designed to allow the parties to

provide the Court the information it needs while not overwhelming the Court with voluminous

filings, and the lower page limits will focus the parties’ arguments, which may aid the Court

given the short period between filing and closing arguments.

V.     Google’s Position Statement Regarding the Length of Post-Trial Submissions

       Google respectfully requests that on May 16 the parties submit Proposed Findings of Fact

of no more than 300 pages and Proposed Conclusions of Law of no more than 75 pages, and that

on May 23 the parties submit Responsive Proposed Findings of Fact of no more than 100 pages

and Responsive Proposed Conclusions of Law of no more than 25 pages. The page limits

proposed by the parties are not too far apart, and there is no sound basis for Plaintiffs to resist

Google’s request for a more generous limit, particularly given the breadth of Plaintiffs’ Proposed

Final Judgment, which extends far beyond the distribution agreements that were the subject of

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the evidence and findings during the liability phase. E.g., ECF 1184-1 at V.A (proposing

divestiture of Chrome); V.B, VI.C (proposing to regulate “Gen AI Products”); VII and VIII.E

(proposing novel 10-year syndication licenses). Plaintiffs’ proposals also are directed to highly

technical subject matters, including the core functionality of Google Search, that are not

described in any meaningful detail in the Proposed Final Judgment and will require adequate

space for Google to address in its written submissions. E.g., id. at VI.A (proposing that Google

“make available, at marginal cost … the following data related to Google’s Search index … on a

periodic basis to be determined by Plaintiffs in consultation with the [Technical Committee]”);

VI.B (proposing that Google “make available, at marginal cost … the following User-side Data

… while safeguarding personal privacy and security”); VI.E (proposing that Google “must

provide … at marginal cost, the following Ads Data”). Because these proposals and others are

both broad and largely undefined, it is important that Google be given the opportunity to submit

a fulsome response to Plaintiffs’ proposed findings. Nevertheless, Google’s proposal

contemplates reasonable limits on length and tight restrictions on timing, with proposed findings

due a week after the end of testimony and responses due a week later.



Dated: March 24, 2025                          Respectfully submitted,

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